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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER GRANTING MOTIONS TO
                                                  OPEN CASE
   Kos v. Monsanto Co.,
   Case No.: 3:21-cv-05795-VC                     Re: Dkt. Nos. 19152, 19153

   Sinclair v. Monsanto Co.,
   Case No.: 3:21-cv-05795-VC




       The motions to open a case filed in the above-captioned cases are granted. Pursuant to

PTO No. 155, the plaintiffs must e-file new individual cases with a Short Form Complaint with

this Order attached as an exhibit and pay the applicable filing fees. The Short Form Complaint

for each member case will relate back to the date on which the original complaint was filed. The

member cases will be placed in MDL Wave 9E.
       IT IS SO ORDERED.

Dated: December 5, 2024
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
